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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

SMITH & NEPHEW lNC.

Plaintit`f,
Civil Action No. 2:04~2446-B/P
V.

STRYKER CORPORATION and
HOWMEDICA~OSTEONICS
CORPORATION

-._~\_r\_/\_./\_./\_/\._/\._/\_¢~_.¢~_-/

Del`endants.

ORDER ON STATUS CONFERENCE
AND AMENDED SCHEDULING ORDER

ln accordance with a notice filed on l\/lay 9, 2005 (Doc. 35), the Court conducted a
telephone status conference regarding this action on l\/lay 25, 2005 at 9:30 A.M.

Jaines l_. Ewing, lV of Kilpatrick Stockton LLP, and Mark Vorder-Bruegge, Jr. of Wyatt,
Tarrant & Combs, L_LP participated as counsel for plaintiff Gregory J. Vogler, Esq. of
l\/chndrews, Held & Malloy, Ltd., and Charles F. Newinan of Burch, Porter & Johnson, LLP
participated as counsel for defendants Mr. Aaron Pettit, General Counsel of defendant Stryker
Corporation, also attended

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As directed, counsel reported to the Coui“t on the status of discovery and preparation for
the current trial setting As a result ofthat discussion, the Court makes the following changes in
affected portions of the Scheduling Order previously entered on October 4, 2004 (Doc. 25) and
the Noticc ot`Setting oftrial previously filed on December 30, 2004 (Doc. 33):

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The following amended dates are established as the final dates for:

Amending pleadings: June 30, 2005

Filing ofl\/larl<man briefs: Ju]y ll, 2005

Responses to Markman briefs: August l7 2005

Completing fact discovery: November 25, 2005

Disclosure ol`parties’ Rule 26 expert information: December 5, 2005

Rel)uttal expert int`ormation: December 20, 2005

Expen\vnnessdepo§nons:Januaq/30,2006

lhspomuveinouon$ Febnnny28,2006

a ss

The Court will schedule a date durng August 2005 for a Markman hearing, if"deemed
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The dates in the Notice ot` Setting of trial previously filed on December 30, 2004 (Doc.
33) are amended to the following

Deadline for submission of joint proposed pre-trial order, motions in limine, and
proposedjuryinsnucnons:June29,2006

Pre-trial conference: July lO, 2006, 9:00 A.M.

Trial (jury): .luly l7, 2006, 9:30 A.M.

The parties still estimate that the trial will last approximately two weeks, i.e., ten trial

days.

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All other provisions in the previous Scheduling Order, and all instructions in the previous
Notice ofSetting regarding preparation of the proposed pre-trial order and final trial preparation,

remain in full force.

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The parties advised the Court that they have previously attempted to settle the case
utilizing a private mediator, that this effort has thus far not been successful, and that they do not
believe the Court should direct further mediation at this time. The parties will advise the Court if

this situation changes

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lt is so ORDERED.

 

.D `NIEL BREEN \
UNI D sTArEs DtsTchr JUDGE

PREPARED AT THE COURT’S DIRECTION & APPROVED BY:

Mth/~Lds.

Ma» lVorder'Brue

V

_,="- Charles F. Newman

\/
L/)(ttorney for Defendants

   

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CV-02446 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Timothy .l. l\/lalloy

MCANDREWS HELD & MALLOY, LTD.

500 West l\/ladison St.
34th Floor
Chicago, IL 60661

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Gregory .l. Vogler

MCANDREWS HELD & MALLOY, LTD.

500 West l\/ladison St.
34th Floor
Chicago, IL 60661

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Charles F. Newman

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103--221

Sharon A. HWang

MCANDREWS HELD & MALLOY, LTD.

500 West l\/ladison St.
34th Floor
Chicago, IL 60661

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Honorable .l. Breen
US DISTRICT COURT

